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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                              WAYCROSS DIVISION


 UNITED STATES OF AMERICA,

        v.                                               CASE NO.: 5:21-cr-9

 MARIA LETICIA PATRICIO,

               Defendant.


                                         ORDER

       On November 23, 2021 the Court conducted a detention hearing for Defendant Maria

Leticia Patricio. After hearing from the parties, Defendant was Ordered Released on a

$50,000.00 Appearance Bond secured by Third Party Surety. Doc. 12. The Court issued an

Order Setting Conditions of Release. Doc. 124, as modified, doc. 219. However, the written

Order Setting Conditions of Release contains some conditions that were not ordered during

Defendant’s detention hearing and should not be imposed. The Court hereby Orders the

following paragraphs be stricken from the Defendant’s Order Setting Conditions of Release, doc.

124:

        (b)     The Defendant must continue or actively seek employment.

        (m)     The Defendant must not use or unlawfully possess a narcotic drug or other
                controlled substances defined in 21 U.S.C. § 802, unless prescribed by a
                licensed medical practitioner.

        (n)     The Defendant must submit to testing for a prohibited substance if required buy
                the pretrial services office or supervising officer. Testing may be used with
                random frequency and may include urine testing, the wearing of a sweat patch, a
                remote alcohol testing system, and/or any form of prohibited substance
                screening or testing. The defendant must not obstruct, attempt to obstruct, or
                tamper with the efficiency or accuracy of prohibited substance screening or
                testing.
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         (o)     The Defendant must participate in a program of inpatient or outpatient substance
                 abuse therapy and counseling if directed by the pretrial services office or
                 supervising officer.

        All other previous conditions of release, docs. 124, 219, are unaffected by this

modification and are still in effect.

        SO ORDERED, this 16th day of December, 2021.




                                        BENJAMIN W. CHEESBRO
                                        UNITED STATES MAGISTRATE JUDGE
                                        SOUTHERN DISTRICT OF GEORGIA
